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19                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
20
     MS. L, et al.,                             Case No. 18cv428 DMS MDD
21
                      Petitioners-Plaintiffs,
22                                              NOTICE REGARDING SITUATION
           vs.                                  AT KARNES FAMILY RESIDENTIAL
23                                              CENTER
   U.S. IMMIGRATION AND CUSTOMS
24 ENFORCEMENT, et al.,
25
               Respondents-Defendants.
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 1         We have been informed by the Department of Homeland Security (DHS) of a
 2 situation at Karnes County Family Residential Center that arose on August 15, 2018.
 3
   Defendants submit this notice to inform the Court of that situation and its resolution.
 4
 5         Karnes currently houses a number of families with male heads of household
 6
     who were reunified under this Court’s preliminary injunction order, and who are
 7
     subject to the stay of removal in this case and being held at Karnes awaiting removal.
 8
 9 On August 15, about 40 men detained at Karnes were involved in a disturbance. No
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     children housed at Karnes were involved in this incident; all were attending school
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     at the time. Sixteen adult male residents were transferred out of Karnes and housed
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13 overnight at another facility. DHS reports that the sixteen residents will be returned
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     to Karnes this evening and that no one was injured during this incident.
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 1 DATED: August 16, 2018            Respectfully submitted,
 2
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 4                                   Deputy Assistant Attorney General
 5                                   WILLIAM C. PEACHEY
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 7                                   Assistant Director
 8
                                     /s/ Sarah B. Fabian
 9                                   SARAH B. FABIAN
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 1                           CERTIFICATE OF SERVICE
 2 IT IS HEREBY CERTIFIED THAT:
 3       I, the undersigned, am a citizen of the United States and am at least eighteen
 4 years of age. My business address is Box 868, Ben Franklin Station, Washington
 5 DC 20044. I am not a party to the above-entitled action. I have caused service of
 6 the accompanying NOTICE REGARDING SITUATION AT KARNES
 7 FAMILY RESIDENTIAL CENTER on all counsel of record, by electronically
 8 filing the foregoing with the Clerk of the District Court using its ECF System, which
 9 electronically provides notice.
10        I declare under penalty of perjury that the foregoing is true and correct.
11
           DATED: August 16, 2018                 s/ Sarah B. Fabian
12                                                Sarah B. Fabian
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